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 5   Lead Counsel for Lead Plaintiff
     and Proposed Class
 6

 7                              UNITED STATES DISTRICT COURT
 8                            NORTHERN DISTRICT OF CALIFORNIA
                                      SAN JOSE DIVISION
 9

10   NICK PATTERSON, Individually and on         Case No. 22-CV-03600-PCP
     Behalf of All Others Similarly Situated,
11
                                                 CLASS ACTION
12               Plaintiff,
                                                 PLAINTIFFS’ NOTICE OF VOLUNTARY
13   v.                                          DISMISSAL WITHOUT PREJUDICE

14   TERRAFORM LABS, PTE. LTD., JUMP             Judge: Hon. P. Casey Pitts
     CRYPTO, JUMP TRADING LLC,
15
     TRIBE CAPITAL, DEFINANCE
16   CAPITAL/DEFINANCE
     TECHNOLOGIES OY, THREE
17   ARROWS CAPITAL PTE. LTD.,
     NICHOLAS PLATIAS and DO KWON,
18
                 Defendants.
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                  PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                                          22-CV-03600-PCP
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 1          TO THE CLERK OF THE COURT AND ALL PARTIES AND THEIR

 2   RESPECTIVE COUNSEL OF RECORD:

 3          PLEASE TAKE NOTICE that, pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Lead Plaintiff

 4   Michael Tobias and named plaintiff Nick Patterson (together, “Plaintiffs”), hereby voluntarily

 5   dismiss this case, in its entirety, without prejudice, only against defendants Terraform Labs, Pte.

 6   Ltd., and Do Kwon (collectively, “TFL Defendants”).

 7          The TFL Defendants have neither answered the complaint (Dkt. No. 102) nor filed motions

 8   for summary judgment. Because the Court has not certified the proposed class for any purpose in

 9   this case and this dismissal is without prejudice, it will not bind members of the proposed class.

10   No notice to the proposed class is necessary. Neither Plaintiffs nor their attorneys have received

11   or will receive any consideration for this dismissal.

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     Dated: September 28, 2023                     Respectfully submitted,
13
                                                   THE ROSEN LAW FIRM, P.A.
14
                                                   /s/ Laurence M. Rosen
15                                                 Laurence M. Rosen, Esq. (SBN 219683)
                                                   Pronouns: he/him/his
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                                           22-CV-03600-PCP
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 1                                      and

 2                                      THE ROSEN LAW FIRM, P.A.
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 3                                      Pronouns: he/him/his
                                        Michael Cohen (pro hac vice)
 4                                      Pronouns: he/him/his
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 6                                      Facsimile: (212) 202-3827
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 7                                            mcohen@rosenlegal.com
 8
                                        Lead Counsel for Plaintiffs and the Putative Class
 9

10                                      SCOTT+SCOTT ATTORNEYS AT LAW LLP
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                                        and
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                                        Additional Counsel
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                                      22-CV-03600-PCP
      Case 5:22-cv-03600-PCP Document 146 Filed 09/28/23 Page 4 of 4




 1                                           PROOF OF SERVICE

 2          I, Laurence M. Rosen, hereby declare under penalty of perjury as follows:
 3          I am the managing attorney of The Rosen Law Firm, P.A., with offices at 355 South Grand
 4   Avenue, Suite 2450, Los Angeles, CA 90071. I am over the age of eighteen.
 5          On September 28, 2023, I electronically filed the foregoing with the Clerk of the Court

 6   using the CM/ECF system which sent notification of such filing to counsel of record.

 7          I certify under penalty that the foregoing in true and correct.

 8

 9          Executed on September 28, 2023

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                                                           /s/ Laurence M. Rosen
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                                                           Laurence M. Rosen
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                  PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
                                          22-CV-03600-PCP
